Case 3:17-cv-01362 Document 1504-21 Filed 01/12/22 Page 1 of 2 PagelD #: 68635

  
  

Status: Archived - 06/14/11

IMPORTANT DATES:
Date Opened
05/29/07

 
 

Date Closed
05/29/07

~~"Reference Number

 
  

e Old File No. -
+ Customer/Requestor -

« Entity -

eNA-
« Storage -

o Suspicious Orders-Internet

   

Last Update
03/29/07

«City -
* State - West Virginia
e Country - United States

:. Columbus, OH (Lockbourne)

SOM Investigation - S and F Pharmacy Inc. - dba. Fruths Pharmacy - May 2007

Date Added

03/29/07

Internal Staff:

 

 
 
  

RA07-0746 =

    

Priority: Normal

 
   

    

Due Date Customer

      
   

Manager in
Charge
Team Member

Will, Ted
Will, Ted

      
   
     
   
 
  

DEPARTMENT/S %

    
  

LEGAL HIERARCHY LOCATION HIERARCHY HIERARCHY
oCorp Security Reg Affairs AmerisourceBergen Drug Corporation (ABDC) 3:3.
alnvestigation North/East

  
  
 

FIRM / VENDOR COMPANIES ASSIGNED

 

 

 

 

 
   

 
 

MATTER EVENTS - 60 DAY OUTLOOK

FINANCE CONSIDERATIONS

    
  

By Adversary By Company #

Amount Recovered: 0.00 0.00 &
Amount Lost: 0.00 0.00 4

Net Amount: 0.00 0.00 |

0.00 0.00 |

0.00 0.00 |

0.00 0.00 #

  

 

  

Average:

Recovery/Payment Recovery / Payment

0.00 *-Payment
Equitable Relief
Insurer No

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

 
 
  

  

Outcome
Amount
Pre
Insurance
Sub Total

Payment
Of

Total
Loss Of
Matter

AM-WV-01417.00001

 

0.00

 

()

 

0.00

0.00

oe
4
4
a
3
3
a
3
a
4
4
;
a
3
3
a
3
a
4
4
&
3
3
3
a

AM-WV-01417
ABDCMDLO01911320
Case 3:17-cv-01362 Document 1504-21 Filed 01/12/22 Page 2 of 2 PagelD #: 68636

Hara eee ceacnuxnainanaennaetsonwauansmwencineaeiaartacintasassrcaestttssi nortan tnasnatetatcn

MATTER TEXT

05/29/07 CSRA opened an inquiry into S & F Pharmacy Inc. (dba. Fruth’s Pharmacy),
account # 010-040360, DEA Registration # BS1588168 for possible excessive purchase

05/29/07 levels in April 2007 for 49.6k dosage units of Hydrocodone and 26.7k dosage units of
Alprazolam. S & F Pharmacy Inc. is an independent store which does a monthly dollar
volume of $317k. The percentage of sales which are controls is 11.5%.

Request to Close

RED MATTERS cussnsussusuusennss
vance Piss

 

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER ABDCMDL01911321
AM-WV-01417.00002
